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**NOT FOR PUBLICATION**

                                    UNITED STATES DISTRICT COURT
                                       DISTRICT OF NEW JERSEY


                                                              Civil Action No.: 20-5420
 REV. KEVIN ROBINSON, et al.,
                                                                          ORDER
         Plaintiffs,

         v.

 PHILIP D. MURPHY, GOVERNOR OF
 THE STATE OF NEW JERSEY, IN HIS
 OFFICIAL CAPACITY, et al.,

         Defendants.

CECCHI, District Judge.

       This matter comes before the Court on Plaintiffs Reverend Kevin Robinson and Rabbi Yisrael A.

Knopfler’s (collectively, “Plaintiffs”) Motion for Leave to File a Third Amended Complaint and

Temporary Restraining Order (With Notice) and Preliminary Injunction (the

“Motion”). ECF No. 55. Defendants Philip D. Murphy and Patrick J. Callahan (collectively,

“Defendants”) opposed the motion (ECF No. 71), with no objection to Plaintiffs’ filing of the Third

Amended Complaint, and Plaintiffs replied in support (ECF No. 79). The parties submitted supplemental

briefs and replies (ECF Nos. 89, 91, 92–93, 96) and the Court held a hearing on September 25, 2020,

where Plaintiffs indicated that they presently seek only a preliminary injunction (ECF No. 95). For the

reasons set forth in the accompanying Opinion:

       IT IS on this 2nd day of October, 2020:

ORDERED that the Plaintiffs’ application for a preliminary injunction is DENIED; and it is finally

    ORDERED that Plaintiffs’ application for leave to file the Third Amended Complaint is GRANTED.

       SO ORDERED.


                                                      CLAIRE C. CECCHI, U.S.D.J.
